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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

DELTA AIR LINES, INC.,                 )
                                       )
      Plaintiff,                       )
                                       )      CIVIL ACTION FILE
      v.                               )
                                       )      NUMBER 1:13-cv-3388-MHC
JOHN WUNDER, et al.,                   )
                                       )
      Defendants.                      )

           RESPONSE IN OPPOSITION TO MOTION TO SEVER

      Comes Now Defendant Meredith K. Stam (“Stam”) and files this Response

in Opposition to Plaintiff Delta Air Lines, Inc.’s (“Delta”) Motion to Sever,

showing the Court that severing Stam and Defendant Prescient Marketing, LLC is

not warranted under the facts of this case as follows:

               ARGUMENT AND CITATION TO AUTHORITY

      Delta asserts that the claims against Defendant Stam and another named

Defendant, Prescient Marketing, LLC (“Prescient”), should be severed because

discovery against Stam began on September 2, 2015, making Delta’s case against

Stam and Prescient out of sync with the remainder of the case. Doc. 370, 4. In

reality, Delta is attempting to use Rule 21 of the Federal Rules of Civil Procedure

to extend discovery against Defendant Prescient which, based on the docket has
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not been served yet, by tying that limited liability company Defendant to an

entirely new discovery track involving Stam, an individual Defendant.

      The record before the Court, however, does not establish Stam is an

employee, owner, officer or manager of Prescient. Doc. 263-2, ¶ 5. Rather the

record reflects that Stam was formerly employed by Express Investments, LLC, a

company which was owned by another Defendant, John Wunder, but which is not

a named defendant in this action. Id. at ¶ 2; See also Doc. 8, Amended

Complaint. This Court has not found that Stam “personally participated in the

tortious conduct of Prescient” as Delta contends in its motion.       Doc. 370, 3.

Plaintiff’s assertions to this end unreasonably stretch the Court’s prior ruling.

Rather, the Court found that, when construing the allegations of the Complaint

most favorably to Plaintiff, “Delta has sufficiently alleged that Stam is a primary

participant in the activities of corporations that form the basis for the Court’s

jurisdiction over such corporations.” Doc. 343, 11.

      The only connection between Prescient and Stam, however, is a Bulk Mail

permit that purportedly lists Stam as the contact person for Prescient. Doc. 280-5,

Ex. C. But Stam has testified that, prior to communicating with counsel for Delta

in a good faith effort to resolve the claims against her, she was unaware that she

had been listed as the contact person for this or any other such permit. Doc. 263-2,

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¶ 6. The Bulk Mail permit itself does not provide that Stam “registered” the

permit, as it contains no indication of who or what registered in the permit. See

Doc. 280-5, Ex. C. In fact, it lists “Meredith Sarven,” not Stam or “Meredith

Sarver” as the “Contact.1” Id. Delta has redacted the telephone number for the

contact, but no other information appears to have been provided that would tie the

permit to Stam.

      The determination of whether to grant a motion to sever is left to the

discretion of the trial court. Fisher v. Ciba Specialty Chemicals Corp., 245 F.R.D.

539, 541 (S.D. Ala. 2007). When deciding whether to sever claims under Rule 21,

the Court may consider factors such as judicial economy, case management,

prejudice to parties, and fundamental fairness. Malibu Media, LLC v. Does 1-28,

295 F.R.D. 527, 533 (M.D. Fla. 2012). The court’s decision to sever parties under

Rule 21 should be tempered by the possibility of prejudice to the severed party.

Foster v. Auburn Univ. Montgomery, No. 2:11-CV-503-WHA-CSC, 2011 WL

3875623, at *4 (M.D. Ala. Sept. 1, 2011).




1
  Delta initially sued Stam under her maiden name, Meredith Sarver. There is no
evidence that Stam has ever gone by the name “Sarven,” however, as listed on the
Bulk Mail permit. This provides yet additional evidence of Delta’s attempts
artificially concoct Stam’s alleged “primary participation” in the infringing
conduct.
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      Here, Delta filed its lawsuit more than two years ago, naming Prescient as a

Defendant. Delta has obtained a Default Judgment against all the Wunder-related

companies in the suit with the exception of Prescient. Doc. 311. Stam, on the

other hand, has exhausted her resources first in attempting to reach a resolution of

this matter with Delta and then through her defense of the claim against her.2 After

expending hundreds of thousands of dollars, if not more, in pursuit of its claims

against the Wunder-related Defendants and other related entities, Delta has no

additional evidence tying Stam to Prescient or the alleged infringing conduct other

than what it has provided in response to Stam’s Motion to Dismiss. Allowing

Delta to now use Stam to substantially extend its protracted litigation against

another Wunder-related entity, Prescient, unfairly prejudices Stam and certainly

does not promote judicial economy.

                                 CONCLUSION

      For the foregoing reasons, Defendant Meredith Stam requests that Plaintiff

Delta Air Lines, Inc.’s Motion to Sever be denied by the Court.




2
  Stam has provided Delta with financial records showing that her financial
condition will not allow her to continue with such a defense through counsel
beyond the filing of this response.
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     Respectfully submitted October 13, 2015.

                                           /s/ M. Travis Foust
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     CERTIFICATION OF COUNSEL / CERTIFICATE OF SERVICE

      I certify that this document was prepared with Times New Roman 14-point

font pursuant to Northern District of Georgia Local Rules 7.1 and 5.1C.

      I further certify that on October 13, 2015, the foregoing Response in

Opposition to Motion to Sever was electronically filed with the Clerk of Court

using the CM/ECF system, which will send e-mail notification to all attorneys of

record, and that I served the following parties by placing a copy of the referenced

filing in the United States mail with sufficient postage affixed thereon as follows:

JD&T Enterprises, Inc.                          Allstar Marketing Direct, LLC
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c/o SmallBiz Agents                             Express Investments
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Mail to You, LLC                                SB Global Marketing, LLC
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